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AO 91 (Rev. 11/11) Criminal Complaint F | L E D
UNITED STATES DISTRICT COURT DEC 39 2024

for the
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Western District of Texas WESTERN DIST F TEXAS
BY.
United States of America )
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Juan Jesus BLANCO OLIVO caseNo. DP-24-3
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)
Defendant(s)
CRIMINAL COMPLAINT
I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of December 28, 2024 in the county of Maverick in the
Western District of Texas , the defendant(s) violated:
Code Section Offense Description
18 U.S.C. 933 Firearms Trafficking

This criminal complaint is based on these facts:

BLANCO OLIVO hired an unknown person to purchase firearms for him in the United States, and he attempted to
smuggle those firearms into Mexico.

@ Continued on the attached sheet. oe

e Complainant's signature

Eric Schlueter, ATF Special Agent

Sworn to before me and signed in my presence.

ae 12/30/2024 YY,

Judge 5 signature
Cit¥and state: Del Rio, Texas Matthew Watters, U.S. Magistrate Judge

i Printed name and title

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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF TEXAS
DEL RIO DIVISION

AFFIDAVIT IN SUPPORT OF A CRIMINAL COMPLAINT

I, Special Agent Eric Schlueter, being duly sworn do hereby depose and state:

1. Your Affiant is currently employed as a Special Agent (“SA”) with the Bureau of Alcohol,
Tobacco, Firearms, and Explosives (ATF) since June 2021 and is currently assigned to the
San Antonio Field Office. Prior to June 2021, your Affiant was employed as a Police
Officer for the City of Florissant, Missouri. Your Affiant has a combined total of
approximately 10 years of law enforcement experience and training with experience in
investigations concerning violations of Title 18.

2. On December 26, 2024, an employee from Adelbridge Firearms & Co, local San Antonio
Federal Firearms Licensee, called the San Antonio ATF Office to report suspicious
behavior in their store. The employee advised a subject, Juan BLANCO OLIVO, DOB:
04/25/1995, entered the store and attempted to purchase a bulk amount of firearm
magazines. BLANCO OLIVO spoke only in Spanish and presented employees with a
Mexican passport. The employees also noted that BLANCO OLIVO seemed nervous, at
which time the employee denied the sale, deeming it suspicious.

3. Queries of BLANCO OLIVO were conducted, showing he crossed into the United States
from Mexico on December 26, 2024, using a tourist visa, and driving a Black Hyundai
Tucson with Mexican plates.

4. A CBP lookout was placed on the vehicle, and it was tracked as it traveled to the Eagle
Pass, Texas Port of Entry Bridge #1 and attempted to exit the United States back into
Mexico on December 28, 2024.

5. After CBP received a negative declaration from BLANCO OLIVO, they conducted a
search of the vehicle and discovered the following three firearms concealed underneath the
front seats:

a) MAKE: Glock, MODEL: 28, .380 Caliber Pistol, with Serial Number: AHSM514
b) MAKE: Glock, MODEL: 25, .380 Caliber Pistol, with Serial Number: AHUS769
c) MAKE: Glock, MODEL: 19, 9mm Pistol, with Serial Number: BGZY382
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6. During a post-Miranda interview, BLANCO OLIVO confessed to hiring an unknown
female subject in San Antonio, Texas on December 28, 2024, to purchase the firearms for
him from Cash America Pawn. He provided the purchaser the money for the firearms, as
well as $300 profit for each firearm she purchased for him. BLANCO OLIVO is aware he
cannot purchase or own firearms in the United States because he is not a citizen.

7. BLANCO OLIVO planned to smuggle the firearms to Mexico where he knew he could sell
them on the street for over double the amount of money they were purchased for in the
United States. He has taken similar firearms to Mexico to do this at least two other times
in the past.

8. An interstate nexus expert provided confirmation that the firearms were not manufactured
in Texas.

9. Based on the above facts, your affiant believes there is probable cause that Juan
BLANCO OLIVO, committed the offense of Firearms Trafficking, in violation of 18
USS.C. §933.

f (__. S
Special Agent Eric Schlueter

Bureau of Alcohol, Tobacco, Firearms, and
Explosives

SUBSCRIBED AND SWORN TO ME THIS 30nd DAY OF December, 2024.

My bree

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von STATES MAGISTRATE JUDGE
